Case 2:19-cv-02874-SVW-MAA Document 59 Filed 11/14/19 Page 1 of 2 Page ID #:714



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                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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                                       WESTERN DIVISION
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  17   LEE WIGOD, individually and on             Case No. 2:19-cv-02874-SVW-MAA
       behalf of all others similarly situated,
  18                                              Assigned to Hon. Stephen V. Wilson
                        Plaintiff,
  19                                              ORDER GRANTING JOINT
             v.                                   STIPULATION FOR DISMISSAL
  20                                              WITH PREJUDICE
       CALLFIRE, INC.,
  21                                              Complaint filed: April 15, 2019
                        Defendant.
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                                                           [PROPOSED] ORDER GRANTING JOINT
                                                          STIP. FOR DISMISSAL WITH PREJUDICE
                                                                        2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 59 Filed 11/14/19 Page 2 of 2 Page ID #:715



   1                                 ORDER
   2                PURSUANT TO STIPULATION, IT IS SO ORDERED that Plaintiff
   3   Lee Wigod’s claims against CallFire, Inc. (“CallFire”) in the above-captioned matter
   4   are dismissed with prejudice and that the claims of the proposed class members are
   5   dismissed without prejudice. Plaintiff Lee Wigod and CallFire shall each bear his or
   6   its own costs and attorneys’ fees.
   7         IT IS SO ORDERED.
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   9   Date: November 14, 2019                     ______________________________
                                                   Hon. Stephen V. Wilson
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                                                   United States District Judge
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                                                          [PROPOSED] ORDER GRANTING JOINT
                                                         STIP. FOR DISMISSAL WITH PREJUDICE
                                               1                       2:19-cv-02874-SVW-MAA
